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                                               UN1 FED STA’FFS DISTI/ CT COURT
                                                   DISTRICT OE NEW JI/RSIiY

                     Plaintiff.

                    JACQUELYN HOPT< INS                                Civil \etion No 2:1 5-ev-O7454MCA—MMl

                             vs.
                                                                                  CONSENT ORDER
                     Defendant.

                    KtJFIINEl NAGEL INC.; MAREN
                    DEDERMANN; ABC CORPORATIONS (I’
                    it)); JOhN and JANE DOES_(UlO)


                            IT S HEREBY STIPULATED AND AGREfD, by and between the undersigned, Ihe

                    attorneys of record for the Plaintiff JACQUELYN          IOPKNS and Defendants KUEflNE            ±


                    NAGEL INC. and MA REN DIU)ERMANN in the abtwe               entitled action,   that:

                            1)     PlaimIff’s claims of discrimination a d harassment/hostile work envimnment

                    based on her gender and national origin under the New Jersey Law Against Discrimination shall

                    be dismissed with prejudice; and

                            2)     Counts (1 and lii   oF   Plaintiff’s Amcndd Complaint shall be limited   to   alleged

                    discrimination and harassment/hostile work environment based upon age and disability only.




                     8yNNTFER PASSANNANTE, ESQ.                           13v: 7O BECICA, ESQ.
                     UbAcLAND, LONGO, MORAN,                              OBERMAYER REBMANN MAXWELL
                     1’Nf&DOUK                                            & HIPPLLL[P
                     Attorneys for Plaintiff.                             Aitorneys for i)efëndams,
                     Jacquclyn I lopkins                                    Hiehne + Nagel Inc. and
                                                                            i\4areo i)cdennann

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NwYcak,NY
